Case 2:04-cV-02938-.]P|\/|-de Document 15 Filed 05/23/05 Page 1 of 3 Pa,ge|D 18
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cHRIsTY LEAH CLARK,
a/k/a cHRIsTY LEAH BEASON,

Plaintiff,
NO. 04-2938 Ml/V

V.

BILLY DOYLE, BILL KELLEY, and
FAYETTE COUNTY,

Defendants.

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ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.1(f), a Rule l€(b) Scheduling Order
was entered on April 22, 2005, by United States Magistrate Judge
Diane K. Vescovo. In accordance with the deadlines established in
that order, trial and pretrial dates are set as follows before the

District Court:

1. The jury trial in this matter is set to begin Mondayl
March 27, 2006 at 9:30 a.m. in courtroom no. 4.

2. A pretrial conference is set for Tuesdav, March 21, 2006
at 8:45 a.m.

3. The joint pretrial order and proposed jury instructions
and voir dire questions are due by no later than 4:30

p.m. on March 14, 2006.

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Case 2:04-cV-02938-.]P|\/|-de Document 15 Filed 05/23/05 Page 2 of 3 Page|D 19

Absent good cause, the dates established by this order shall

not be extended or modified,

:T is so oRDERED this 23 day of May, 2005.

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JO PHIPPS MCCALLA
U'N 'I`ED STATES DISTRIC'I` JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CV-02938 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

ESSEE

 

Bradley G. Kirk

CARTER STANFILL & KIRK
25 Natchez Trace Dr.
LeXington, TN 38351

Michael R. Hill

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

1\/1i121n7 TN 38358

William B. Mauldin

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Honorable J on McCalla
US DISTRICT COURT

